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2
3                              UNITED STATES DISTRICT COURT
4                                     DISTRICT OF NEVADA
5     Ronald J. Allison,                                   Case No. 2:22-cv-01061-JAD-DJA
6                                            Plaintiff                     ORDER
7            v.
8     Office of the Public Defender, Las Vegas,
      NV,
9
                                         Defendant.
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12   I.     DISCUSSION

13          On July 6, 2022, Plaintiff, an inmate in the custody of the Clark County Detention

14   Center submitted a complaint. (ECF No. 1-1). Plaintiff has not filed an application to

15   proceed in forma pauperis in this matter or submitted a filing fee.

16          Under 28 U.S.C. § 1915(a)(2) and Local Rule LSR 1-2, an inmate seeking to begin

17   a civil action in this Court may apply to proceed in forma pauperis in order to file the civil

18   action without prepaying the full $402 filing fee. To apply for in forma pauperis status, the

19   inmate must submit all three the following documents to the Court:

20          (1) a completed Application to Proceed in Forma Pauperis for Inmate, this

21          Court’s approved form (i.e. pages 1 through 3 with the inmate’s two signatures on

22          page 3),

23          (2) a Financial Certificate properly signed by both the inmate and a prison or jail

24          official (i.e. page 4 of this Court’s approved form), and

25          (3) a copy of the inmate’s prison or jail trust fund account statement for the

26   previous six-month period.

27          The Court will grant Plaintiff a one-time opportunity to file a complaint and a fully

28   complete application to proceed in forma pauperis containing all three of the required
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1    documents, or in the alternative, pay the full $402 filing fee for this action on or before
2    August 8, 2022. Absent unusual circumstances, the Court will not grant any further
3    extensions of time. If Plaintiff is unable to file a complaint and a fully complete application
4    to proceed in forma pauperis with all three required documents or pay the full $402 filing
5    fee on or before August 8, 2022, the Court will dismiss this case without prejudice for
6    Plaintiff to file a new case with the Court when Plaintiff is able to file a complaint and able
7    to acquire all three of the documents needed to file a fully complete application to proceed
8    in forma pauperis or pay the full $402 filing fee. To clarify, a dismissal without prejudice
9    means Plaintiff does not give up the right to refile the case with the Court, under a new
10   case number, when Plaintiff is able to file a complaint and has all three documents needed
11   to submit with an application to proceed in forma pauperis. Alternatively, Plaintiff may
12   choose not to file an application to proceed in forma pauperis and instead pay the full
13   filing fee of $402 on or before August 8, 2022 to proceed with this case.
14   II.    CONCLUSION
15          For the foregoing reasons, IT IS ORDERED that the Clerk of the Court will send
16   Plaintiff the approved form application to proceed in forma pauperis by an inmate, as well
17   as the document entitled information and instructions for filing an in forma pauperis
18   application.
19          IT IS FURTHER ORDERED that on or before August 8, 2022, Plaintiff will either
20   pay the full $402 filing fee for a civil action (which includes the $350 filing fee and the $52
21   administrative fee) or file with the Court:
22          (1) a completed Application to Proceed in Forma Pauperis for Inmate on this
23          Court’s approved form (i.e. pages 1 through 3 of the form with the inmate’s two
24          signatures on page 3),
25          (2) a Financial Certificate properly signed by both the inmate and a prison or jail
26          official (i.e. page 4 of this Court’s approved form), and
27          (3) a copy of the inmate’s prison or jail trust fund account statement for the
28   previous six-month period.



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1          IT IS FURTHER ORDERED that, if Plaintiff does not file a complaint and a fully
2    complete application to proceed in forma pauperis with all three documents or pay the full
3
     $402 filing fee for a civil action on or before August 8, 2022, the Court will recommend
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     that this action be dismissed without prejudice.
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6          DATED: July 7, 2022.
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8
                                              DANIEL J. ALBREGTS
9                                             UNITED STATES MAGISTRATE JUDGE

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